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7
8
                               UNITED STATES DISTRICT COURT
9
                             SOUTHERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA       ) No. 20-CR-1566-DMS
11                                   )
                                     ) JOINT MOTION TO SET
12     v.                            ) RESTITUTION HEARING
                                     )
13                                   )
      CHARLES RONALD GREEN, JR. (1), )
14    MELINDA ELIZABETH GREEN (2), ) Date: May 24, 2024
                                     )
15          Defendants.              )
                                     )
16                                   )
            A Victim Impact Statement has been submitted in this matter. Rather than take up
17
      the question of restitution at sentencing on March 1, pursuant to 18 USC §3664(d)(5),
18
      which permits a restitution hearing within 90 days of sentencing, the parties jointly move
19
      this Court to set a restitution hearing on May 24, 2024 at 10:00 a.m., and order briefing as
20
      follows:
21
            - Objection to the request for restitution by ILWU-PMA Plan due April 12
22
            - Any Reply by ILWU-PMA Plan due May 10
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            This schedule has been agreed upon by the parties and the representative of the
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      ILWU-PMA Plan, and the date for the restitution hearing has been cleared with the Court.
25
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27
28
     Case 3:20-cr-01566-DMS Document 150 Filed 02/27/24 PageID.1040 Page 2 of 2




1 SO MOVED.
2 DATED: February 27, 2024                               Respectfully submitted,
                                                         TARA K. MCGRATH
3
                                                         United States Attorney
4
                                                         s/Valerie H. Chu
5                                                        VALERIE H. CHU
6                                                        Assistant U.S. Attorney
7                                                        s/David Wiechert (w/ authorization)
8                                                        DAVID W WIECHERT
                                                         Counsel for Charles Ronald Green
9
10                                                       s/Derelle Janey (w/ authorization)
                                                         DERELLE JANEY
11                                                       Counsel for Melinda Elizabeth Green
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      Parties’ Joint Motion to Set Restitution Hearing        2                                20-CR-1566-DMS
